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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


USAMA J. HAMAMA, et al.,

                 Petitioners,                                 Case No. 17-cv-11910
vs.                                                           HON. MARK A. GOLDSMITH

REBECCA ADDUCCI, et al.,

            Respondents.
_______________________________/

                         ORDER REGARDING FURTHER PROCEEDINGS

        The hearing previously scheduled for February 21, 2018, regarding the issues to be set out

in the forthcoming joint statement of issues, Saeeb Ibrahem Mansy’s motion for a mental

competency exam (Dkt. 210), Petitioners’ emergency motion for a stay of removal with respect to

Aalan Kamal (Dkt. 212), Petitioners’ motion for additional disclosure (Dkt. 226), and Petitioners’

motion on issues related to implementation of detention orders (Dkt. 227), is adjourned until

February 26, 2018, at 9:00 a.m. With regard to Petitioners’ motion for additional disclosure and

their motion on issues related to implementation of detention orders, the Government shall have

until February 20, 2018 to file its responses. Petitioners shall have until February 22, 2018 at noon

to file their replies.


        SO ORDERED.


Dated: February 14, 2018                      s/Mark A. Goldsmith
Detroit, Michigan                             MARK A. GOLDSMITH
                                              United States District Judge




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                                    CERTIFICATE OF SERVICE
      The undersigned certifies that the foregoing document was served upon counsel of record
      and any unrepresented parties via the Court's ECF System to their respective email or First
      Class U.S. mail addresses disclosed on the Notice of Electronic Filing on February 14,
      2018.


                                                 s/Karri Sandusky
                                           Case Manager
 




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